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                           THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF NEW YORK


                                         )                             Case No. 22-10943 (MEW)
 In re:                                  )
                                         )                             Chapter 11
                                       1
 VOYAGER DIGITAL HOLDINGS, INC., et al. )                              (Jointly Administered)
                                         )
                                         )
                 Debtors.                )
                                         )
          RESPONSE OF THE U.S. SECURITIES AND EXCHANGE COMMISSION TO THE
                               LIQUIDATION PROCEDURES

          The U.S. Securities and Exchange Commission (“SEC”) respectfully submits this

 response to the Debtors’ Notice of Filing of the Liquidation Procedures [Docket No. 1374] (the

 “Liquidation Procedures”), which was filed on May 5, 2023 pursuant to the Third Amended

 Joint Plan of Voyager Digital Holdings, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of

 the Bankruptcy Code [Docket No. 1166-1].

          The SEC does not object to the Liquidation Procedures. This response is not and should

 not be construed as a determination that the Liquidation Procedures do not involve the offer or

 sale of securities. The SEC staff is of the view that the crypto assets at issue here include

 securities that were offered and sold without a registration statement.

                                [Remainder of page intentionally left blank]




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Voyager Digital Holdings, Inc. (7687); Voyager Digital Ltd. (7224); and Voyager Digital, LLC (8013).
 The location of the Debtors’ principal place of business is 33 Irving Place, Suite 3060, New York, NY 10003.
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 Dated: May 15, 2023
 Atlanta, Georgia                     Respectfully submitted,

                                      U.S. SECURITIES AND EXCHANGE
                                      COMMISSION

                                      By: /s/ William M. Uptegrove
                                      William M. Uptegrove (admitted pro hac vice)
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                                               -and-
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                                CERTIFICATE OF SERVICE

       I certify that I caused a copy of the foregoing Response of the U.S. Securities and

Exchange Commission to the Liquidation Procedures to be served upon counsel or parties of

record by the Court’s CM/ECF system on May 15, 2023.


                                                    By: /s/ William M. Uptegrove
                                                       William M. Uptegrove




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